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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION


      VALENTINA L. O’CONNOR,                      )
      as next friend and guardian of Michael W.   )
      O’Connor,                                   )
                                                  )
                                                  )     No.
                               Plaintiff,         )
                                                  )
                        v.                        )
                                                  )
      DEPUTY ARTHUR WRIGHT, Star No.              )
      10552, an individual; DEPUTY T.             )
      MERRIWEATHER, Star No. 11144, an            )
      individual; DEPUTY J. HERRERA, Star         )
      No. 11369, an individual; the               )
      COUNTY OF COOK, a Body Politic and          )
      Corporate; the CITY OF CHICAGO, a           )
      municipal corporation; OFFICER              )
      LEXINGTON, Star No. UNKNOWN, an             )
      individual; and UNKNOWN CHICAGO             )     JURY DEMANDED
      POLICE OFFICERS, in their individual        )
      capacities;                                 )
                                Defendants.       )

                                 COMPLAINT

      NOW COMES Plaintiff, Valentina O’Connor, as next friend & legal guardian

of Michael W. O'Connor, by and through counsel, Victor P. Henderson and Rebecca

R. Kaiser, and complains of DEPUTY ARTHUR WRIGHT, Star No. 10552, an

individual; DEPUTY T. MERRIWEATHER, Star No. 11144, an individual;

DEPUTY J. HERRERA, Star No. 11369, an individual; the COUNTY OF COOK, a

Body Politic and Corporate; THE CITY OF CHICAGO, a municipal corporation;




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OFFICER LEXINGTON, Star No. UNKNOWN, an individual; and UNKNOWN

CHICAGO POLICE OFFICERS, in their individual capacities, as follows:

                        Parties, Jurisdiction and Venue

      1.     Plaintiff VALENTINA O’CONNOR is the legal guardian of MICHAEL

W. O’CONNOR, her mentally disabled son.           (See, Order Appointing Plenary

Guardian For Disabled Person dated July 16, 2013, attached as Exhibit A.)

      2.     Plaintiff VALENTINA O’CONNOR, as next friend and guardian of

MICHAEL W. O’CONNOR, is a resident of the Northern District of Illinois.

      3.     At all relevant times, Defendant Deputy Arthur Wright, Star No.

10552, was employed by the Cook County Sheriff’s Office, and acted in his official

capacity and under the color of law and in the course and scope of his employment

with the Cook County Sheriff’s Office.

      4.     At all relevant times, Defendant Deputy T. Merriweather, Star No.

11144, was employed by the Cook County Sheriff’s Office, and acted in his official

capacity and under the color of law and in the course and scope of his employment

with the Cook County Sheriff’s Office.

      5.     At all relevant times, Defendant Deputy J. Herrera, Star No. 11369,

was employed by the Cook County Sheriff’s Office, and acted in his official capacity

and under the color of law and in the course and scope of his employment with the

Cook County Sheriff’s Office.

      6.     At all relevant times, Defendant Deputy Arthur Wright, Defendant

Deputy T. Merriweather, and Defendant Deputy J. Herrera were employed by the



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Defendant Cook County Sheriff’s Office.

       7.    Defendant Cook County is a party for indemnification purposes,

pursuant to Carver v. Sheriff of LaSalle County, 324 F.3d 947, 948 (7th Cir. 2003).

       8.    At all relevant times, Defendant Officer Lexington, Star No. Unknown,

was employed by the Chicago Police Department, and acted in his official capacity

and under the color of law and in the course and scope of his employment with the

Chicago Police Department.

       9.    At all relevant times, Defendant Chicago Police Officer Lexington was

employed by the City of Chicago.

       10.   At all relevant times, Defendant Unknown Chicago Police Officers,

were employed by the Chicago Police Department, and acted in their official

capacity and under the color of law and in the course and scope of their employment

with the Chicago Police Department.

       11.   Defendant City of Chicago is an Illinois municipal corporation,

responsible for policies and procedures governing the Chicago Police Department,

including Defendant Officer Lexington and the Unknown Chicago Police Officers.

The City of Chicago is also the indemnifying entity for any legal judgment entered

against Officer Lexington and the Unknown Chicago Police Officers based on the

allegations contained in this Complaint.

       12.   All events described in this complaint occurred in Cook County,

Illinois.

       13.   This action is brought pursuant to 42 U.S.C. § 1983 and 42 U.S.C.



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§1988 to redress the deprivation under color of law of Michael O’Connor’s rights as

secured by the United States Constitution.

       14.     This Court has jurisdiction over this action pursuant to 28 U.S.C. §

1331. Venue is proper under 28 U.S.C. § 1391(b). The parties reside in this judicial

district, and the events giving rise to the claims asserted herein occurred in this

judicial district as well.

                                        FACTS

       15.     Michael O’Connor has been treated for mixed bipolar psychosis and

ADHD since 2004, when he was 14 years old.

       16.     For his mental illnesses, Michael has been prescribed Depakote,

Adderall, Zyprexa, and Vyvanse.

       17.     Michael also takes Levothyroxine for hypothyroidism as well as blood

pressure medication.

       18.     On or about May 6, 2014, Michael O’Connor was informed that he was

going to be arrested.

       19.     Thus, he self-surrendered at a Chicago police station.

       20.     Mrs. O’Connor arrived at the police station shortly after her son.

       21.     Mrs. O’Connor gave Chicago Police Officer Lexington Michael’s

medications.

       22.     Officer Lexington scoffed at Mrs. O’Connor and replied, “Nobody ever

died of mental illness.”

       23.     Michael did not receive his medications for the next three days while



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he was in Chicago Police custody.

      24.     Michael could not sleep for three days because he did not receive his

medication.

      25.     Late at night or May 8, 2014, or early in the morning of May 9, 2014,

two Unknown Chicago Police Officers took Michael to Little Company of Mary

Hospital to receive medication.

      26.     At Little Company of Mary Hospital, Michael was told to take

Vyvanse, a stimulant.

      27.     Michael told the officers that he had not slept in days and thus should

not be taking a stimulant, especially on an empty stomach.

      28.     The officers threatened Michael with staying in the police station for

three more days if he did not take the Vyvanse.

      29.     Michael then took the Vyvanse.

      30.     Michael was then taken back to the Chicago Police Department.

      31.     Michael could not sleep the rest of the night because he took Vyvanse.

      32.     The Vyvanse made Michael’s heart race and made him panic and go

into psychosis.

      33.     On or about May 9, 2014, Michael appeared in bond court at 2650

South California Avenue.

      34.     When the Assistant State’s Attorney read Michael’s charges, Michael

yelled, “No!” and pushed the papers off of counsel table.

      35.     This outburst occurred because Michael had not received the proper



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medication and instead received a stimulant at an inappropriate time, after being

unmedicated for days.

        36.   In response to his outcry, Wright, Merriweather, and Herrera punched

Michael in the face, tackled him, pushed him to the ground, and handcuffed him

behind his back.

        37.   Wright, Merriweather, and Herrera then had everyone in the

courtroom evacuate.

        38.   Wright, Merriweather, and Herrera then dragged Michel into a back

room.

        39.   Wright, Merriweather and Herrera proceeded to kick Michael in the

face, ribs, and groin.

        40.   As Wright, Merriweather, and Herrera were kicking him, Michael

yelled, “Please stop!”

        41.   Wright, Merriweather, and Herrera were laughing and high fiving as

they kicked Michael.

        42.   Michael thought Wright, Merriweather, and Herrera were going to kill

him.

        43.   Michael was then taken to Mt. Sinai Hospital to be treated for his

injuries.

        44.   Michael remained at Mt. Sinai Hospital for three days, until May 12,

2014, where he was in and out of consciousness.

        45.   While at Mt. Sinai Hospital, Michael was chained to the bed, not



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allowed to make any phone calls, and received a rash from not being allowed to

shower.

      46.   After being released from Mt. Sinai, Michael was treated in Cermak

Hospital for another week.

      47.   Michael was then transported to Cook County Jail Division II.

      48.   As a result of this beating, Michael suffered and continues to suffer

aggravation of his mental illness, PTSD, a concussion, a cracked rib, displaced

vertebra, black eyes, severe bruising, a fractured nose, chipped tooth, severe

headaches, amnesia, twitching, and a misaligned jaw, which causes him difficulty

chewing.

                        COUNT I – EXCESSIVE FORCE

                 (Defendants Wright, Merriweather, and Herrera)

      49.   Each of the above Paragraphs is incorporated as if restated herein.

      50.   At all relevant times, Defendant Wright was employed by the Office Of

The Cook County Sheriff and acting under the color of law.

      51.   At all relevant times, Defendant Merriweather was employed by the

Office Of The Cook County Sheriff and acting under the color of law.

      52.   At all relevant times, Defendant Herrera was employed by the Office

Of The Cook County Sheriff and acting under the color of law.

      53.   As described in the preceding paragraphs, by repeatedly kicking

Michael in the face, ribs, and groin, Wright, Merriweather, and Herrera subjected

him to unreasonable and excessive force in violation of the Michael’s rights as

guaranteed by the United States Constitution.
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      54.    Wright,   Merriweather,     and   Herrera   intentionally   and   forcibly

subjected Michael O’Connor to unreasonable and excessive force in that they

intentionally, willfully, wantonly, and without legal justification kicked Michael

O’Connor about the head and body.

      55.    The misconduct described in this Count was objectively unreasonable

and was undertaken intentionally with malice,               willfulness, and reckless

indifference to Michael O’Connor’s constitutional rights.

      56.    As a result of Wright, Merriweather, and Herrera’s unjustified and

excessive use of force, Michael O’Connor suffered and continues to suffer

aggravation of his mental illness, PTSD, a concussion, a cracked rib, displaced

vertebra, black eyes, severe bruising, a fractured nose, chipped tooth, severe

headaches, amnesia, twitching, and a misaligned jaw, which causes him difficulty

chewing.

      WHEREFORE, Plaintiff, Valentina O’Connor, as next friend and legal

guardian of Michael W. O’Connor, demands compensatory damages in excess of the

jurisdictional amount against Defendants Wright, Merriweather, and Herrera, plus

punitive damages, attorneys’ fees and costs of this action pursuant to 42 U.S.C. §

1988, and any such relief this Court deems equitable and just.

                                  JURY DEMAND

      Plaintiff hereby demands a trial by jury pursuant to Federal Rule of Civil

Procedure 38(b) on all triable issues.




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                        COUNT II – INDEMNIFICATION
                         (Defendant County Of Cook)

        57.   Each of the above paragraphs is incorporated as if restated herein.

        58.   The Cook County Sheriff’s Department is funded by the County of

Cook.

        59.   Thus, the County of Cook is a necessary party as the indemnifier of

Defendants Merriweather, Wright, and Herrera of The Cook County Sheriff’s Office

pursuant to Carver v. Sheriff of LaSalle County, 324 F.3d 947 (7th Cir. 2003).

        WHEREFORE, Plaintiff, Valentina O’Connor, as next friend and legal

guardian of Michael W. O’Connor, demands compensatory damages in excess of the

jurisdictional amount against Defendants, plus attorneys’ fees and costs of this

action pursuant to 42 U.S.C. § 1988, and any such relief this Court deems equitable

and just.

                                  JURY DEMAND

        Plaintiff hereby demands a trial by jury pursuant to Federal Rule of Civil

Procedure 38(b) on all triable issues.

             COUNT III- DELIBERATE INDIFFERENCE – FAILURE TO
                         PROVIDE MEDICAL CARE
        (Defendants Chicago Police Officer Lexington and Unknown Officers
                     Of The Chicago Police Department)

        60.   Each of the above Paragraphs is incorporated as if restated herein.

        61.   Michael O’Connor’s diagnosed mixed bipolar disorder and ADHD are

serious medical conditions.

        62.   Lexington and the Unknown Chicago Police Officers knew about



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Michael’s serious medical conditions because his mother, Valentina O’Connor, told

them about his conditions and gave them Michael’s proper medication.

      63.     Lexington and the Unknown Chicago Police Officers knew about the

substantial risk of serious harm to Michael O’Connor if he did not receive his

medication.

      64.     Lexington and the Unknown Chicago Police Officers deliberately,

willfully, and wantonly disregarded the obvious and serious medical needs of

Michael and risks to his health and failed to take appropriate steps to provide him

with his medication for three days while in their care and custody, thus violating

Michael’s rights under the Fourteenth and Eighth Amendments to the United

States Constitution.

      65.     Lexington and the Unknown Chicago Police Officers deliberately,

willfully, and wantonly disregarded the obvious and serious medical needs of

Michael and risks to his health by forcing him to take Vyvanse, a stimulant, in the

middle of the night and on an empty stomach without being medicated for days.

      66.     As a result of these violations, Michael suffered an outburst in court

that proximately led to his beating by Defendants Wright, Merriweather, and

Herrera.

      67.     Michael’s injuries as a result of this attack include but are not limited

to aggravation of his mental illness, PTSD, a concussion, a cracked rib, displaced

vertebra, black eyes, severe bruising, a fractured nose, chipped tooth, severe

headaches, amnesia, twitching, and a misaligned jaw, which causes him difficulty



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chewing.

       WHEREFORE, Plaintiff, Valentina O’Connor, as next friend and legal

guardian of Michael W. O’Connor, demands compensatory damages in excess of the

jurisdictional amount against Lexington and the Unknown Chicago Police Officers,

plus punitive damages, attorneys’ fees and costs of this action pursuant to 42 U.S.C.

§ 1988, and any such relief this Court deems equitable and just.

                                  JURY DEMAND

       Plaintiff hereby demands a trial by jury pursuant to Federal Rule of Civil

Procedure 38(b) on all triable issues.

                        COUNT IV – INDEMNIFICATION

                           (Defendant City Of Chicago)

       69.    Each of the above Paragraphs is incorporated as if restated herein.

       70.    Public entities are directed to pay any tort judgment for compensatory

damages for which employees are liable within the scope of their employment

activities.

       71.    Officer Lexington and the Unknown Defendant Officers Of The

Chicago Police Department were employees of the City of Chicago at the time they

committed the aforementioned constitutional violations against Michael O’Connor,

and acted within the scope of their employment in committing the aforementioned

misconduct.

       WHEREFORE, Plaintiff, Valentina O’Connor, as next friend and legal

guardian of Michael W. O’Connor, demands compensatory damages in excess of the



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jurisdictional amount against Defendants, plus attorneys’ fees and costs of this

action pursuant to 42 U.S.C. § 1988, and any such relief this Court deems equitable

and just.

                                  JURY DEMAND

      Plaintiff hereby demands a trial by jury pursuant to Federal Rule of Civil

Procedure 38(b) on all triable issues.

DATED:       September 14, 2015




                                            Respectfully Submitted,

                                            /s/ Victor P. Henderson
                                            One of the Attorneys For Plaintiff


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